                                                               (SPACE BELOW FOR FILING STAMP ONLY)
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           ATTORNEYS FOR Defendant
 5                  EDDY A. GEORGE

 6
                                 UNITED STATES DISTRICT COURT
 7
                                EASTERN DISTRICT OF CALIFORNIA
 8
                                          * * * * * * * *
 9
      UNITED STATES OF AMERICA,                    Case No.:      CR-F-02-5438 OWW
10
                 Plaintiff,                        STIPULATION FOR EXTENSION OF TIME FOR
11                                                 FILING DEFENDANT’S REPLY BRIEF
           vs.                                     SUPPORTING HIS MOTION FOR A NEW
12                                                 TRIAL; ORDER
      EDDY A. GEORGE,
13
                 Defendant.
14
15         The parties, by and through their counsel of record, mutually agree and
     stipulate that the date set for filing of Defendant Eddy George’s Reply Brief
16
     Supporting his Motion for New Trial is extended to April 14, 2006.                The
17
     extension of time is necessary because the government’s opposition to the
18   defendant’s motion, filed under seal, was served on defense counsel via United
     States mail and was thereby delayed several days, requiring this request for a
19
     short extension to reply.        The hearing on the motion is set for April 21, 2006
20   at 9 a.m.
21         Respectfully submitted,

22         Dated: April___, 2006,             McGREGOR W. SCOTT
                                              United States Attorney
23
24                                            By /S/ Karen Escobar
                                              KAREN A. ESCOBAR
25                                            Assistant U.S. Attorney
26         DATED: April __, 2006,             NUTTALL & COLEMAN
27
                                              By /S/ Roger T. Nuttall
28                                            ROGER T. NUTTALL
                                              Attorneys for Defendant,
                                              EDDY A. GEORGE
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  1         IT IS SO ORDERED that defendant Eddy George is granted an extension of
      time to file his Reply Brief Supporting his Motion for a New Trial to April
  2
      14, 2006.
  3   IT IS SO ORDERED.
  4   Dated: April 12, 2006                   /s/ Oliver W. Wanger
      emm0d6                             UNITED STATES DISTRICT JUDGE
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